Case 1:14-cv-00217-HG-RLP Document 431 Filed 04/09/18 Page 1 of 3   PageID #: 9839



                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  CARA BARBER, ET AL.,           )       CIVIL NO. 14-00217 HG-RLP
                                 )
                 Plaintiffs,     )       ORDER DENYING PLAINTIFF’S
                                 )       MOTION TO LIFT STAY
            vs.                  )
                                 )
  OHANA MILITARY COMMUNITIES,    )
  LLC, ET AL.,                   )
                                 )
                 Defendants.     )
  ______________________________ )

              ORDER DENYING PLAINTIFF’S MOTION TO LIFT STAY

              Before the Court is Plaintiff’s Motion to Lift Stay,

  filed on April 4, 2018 (“Motion”).        ECF No. 430.    The Court finds

  the Motion suitable for disposition without a hearing pursuant to

  Rules 7.2(d) of the Local Rules of Practice of the United States

  District Court for the District of Hawaii.         After careful

  consideration of the Motion and the record in this matter, the

  Court DENIES the Motion.

              On February 6, 2018, this Court granted Defendants

  Ohana Military Communities, LLC and Forest City Residential

  Management LLC’s Motion to Stay Plaintiff’s Motion for Attorney's

  Fees and Costs (“Stay Order”).       See ECF No. 428.     In the Stay

  Order, the Court held that a stay of the attorney’s fees motion

  was both appropriate and necessary.        Id.   The Court reasoned that

  the disposition of the attorney’s fees motion may lead to the

  filing of additional related motions in the future, such as

  motions for reconsideration and/or objections to the findings and
Case 1:14-cv-00217-HG-RLP Document 431 Filed 04/09/18 Page 2 of 3    PageID #: 9840



  recommendation, which would necessarily require the expenditure

  of additional judicial resources.         Id.   The Court held that

  because Plaintiff’s attorney’s fees motion is predicated on an

  order that is currently on appeal, the Court and the parties’

  interests would best be served by waiting for the Ninth Circuit’s

  decision before determining if and/or what amount of attorney’s

  fees should be awarded.      Id.    The Court ordered that the parties

  may request that the attorney’s fees motion be reinstated after

  the Ninth Circuit has issued its decision and mandate.             Id.   The

  Ninth Circuit has not issued its decision or mandate.             The appeal

  remains pending.

               The Court has carefully reviewed the present Motion and

  DENIES Plaintiff’s request to lift the stay.          In the present

  Motion, Plaintiff essentially asks the Court to reconsider its

  prior Order.     See ECF No. 430.    Although the Court understands

  Plaintiff’s frustrations with the ongoing litigation between the

  parties, the information provided in the present Motion does not

  alter the Court’s prior reasoning in the Stay Order.              As detailed

  above, Plaintiff’s request for attorney’s fees motion is

  predicated on an order that remains on appeal.          Proceeding with

  the attorney’s fees motion at this time will likely lead to the

  filing of additional related motions in the future, which would

  necessarily require the expenditure of additional judicial

  resources.    Accordingly, the Court DENIES Plaintiff’s Motion to


                                        2
Case 1:14-cv-00217-HG-RLP Document 431 Filed 04/09/18 Page 3 of 3   PageID #: 9841



  Lift Stay.

               IT IS SO ORDERED.

               DATED AT HONOLULU, HAWAII, APRIL 9, 2018.




                                     _____________________________
                                     Richard L. Puglisi
                                     United States Magistrate Judge



  BARBER, ET AL. v. OHANA MILITARY COMMUNITIES, LLC, ET AL.; CIVIL NO.
  14-00217 HG-RLP; ORDER DENYING PLAINTIFF'S MOTION TO LIFT STAY




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